IN THE UNITEI) STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISI()N
SECURITIES AND EXCHANGE )
C()MMISSI()N, )
)
Plaintifi`, ) No. 11-cv-5223

)

v. ) Jeffrey T. Gilbert

) Magistrate Judge
STEPHEN D. FERRONE, )
)
Defendant. )

MEM()RANDUM OPINION AND ORDER

Plaintit`i`Securities and Exchange Commission (the “SEC”) alleges that Defendant
Stephen D. Ferrone (“Ferrone”) violated Section lO(b) of the Exchange Act ( 15 U.S.C. § 78j(b)),
EXchange Act Rule 10b-5 (17 C.F.R. § 24().10b-5), and Exchange Act Rule 13a-14 (17 C.F.R. §
24().131~14), and aided and abetted violations of Section 13(a) of the Exchange Act (15 U.S.C. §
78m(a)) and Exchange Act Rules 1213-20 (17 C.F.R. § 240.12b-20), 13a~l (17 C.F_R. §
240.l3a-l), 1321-ll (17 C.F.R. § 240.13a-11), and 13a-13 (17 C.F.R. § 240.13a-13). [ECF No.
l.] Upon the SEC’s motion, the District Court severed the claims against Ferrone from the
claims against his co-defendants. [ECF No. 129.] Pursuant to 28 U.S.C. § 636(c) and Local
Rule 73.1, the SEC and Ferrone then consented to the jurisdiction of a United States Magistrate
Judge for all proceedings, including entry of final judgment [ECF No. 130.] Trial of the SEC’s
claims against Ferrone is set to begin on April 18, 2016. [ECF No. 153.]

I. BACKGROUND

The case against Ferrone arises out of his tenure as the Chief Executive Officer and

President of lmmunosyn Corporation (“lmrnunosyn”). But the story begins several years before

lmmunosyn came into existence In 2002, Douglas McClain, Jr. and James Miceli founded a
pharmaceutical company, Argyll Biotechnologies, LLC (“Argyll”). Douglas McClain, Sr.
served as Argyll’s Chiet` Science Ofticer. Several years later, Argyll acquired the rights to a
biopharmaceutical drug product derived from goat’s blood called SF-lUlQ. Argyll then formed
Irnmunosyn and granted to the new company the right to distribute SF-1019. Shortly thereafter,
in December, 2006, Argyll filed an lnvestigational New Drug (“IND”) application with the
United States Food and Drug Administration (“FDA”). In early 2()()7, however, the FDA
imposed a full clinical hold on SF-1019, prohibiting all human studies involving the potential
pharmaceutical. Several months later, in October, 20()7, Ferrone became CEO and President of
Immunosyn. The SEC asserts that, in these roles, “Ferrone engaged in fraudulent conduct,
including the making of material misrepresentations and omissions, and the aiding and abetting
of misrepresentations and omissions in Immunosyn’s public statements concerning SF-l 0l9.”
[ECF No. 197, at 2.]

The core of the SEC’s case is that Immunosyn and Ferrone never disclosed to investors
or in required filings that the FDA put a clinical hold on SF-l()lQ. Ferrone counters that
lmmunosyn made all required disclosures regarding SF-l()lQ, that the disclosures were not
misleading, and that he always acted in good faith Ici.

This Mernorandum Opinion and Order addresses the SEC’s three motions in limine [ECF
Nos. 14(), 142, ]44], all three of Ferrone’s motions in limine [ECF Nos. 146, 147, 148], and
Ferrone’s Dcrr¢herr motion [ECF No. 149]. For the reasons stated below, these motions are

granted in part, denied in part, taken under advisement in part, and reserved in part.

II. LEGAL STANDARD

The district court has the inherent authority to manage the course of a trial. ane v.
Unirea' Stciresj 469 U.S. 38, 41 n.4 (1984). The court may exercise this power by issuing an
evidentiary ruling in advance of trial. Icl. A party may seek such a ruling by filing a motion in
limine, which requests the court’s guidance on what evidence will (or will not) be admitted at
trial. Perry v. Ciiy ofChiccigO, 733 F.3d 248, 252 (7th Cir. 2013). Prudent motions in limine
serve a gatekeeping function by allowing the judge “to eliminate from further consideration
evidentiary submissions that clearly ought not be presented to the jury.” Jonasson v. Liirhercin
Cliilcl & Family Servs., 115 F.3d 436, 440 (7th Cir. 1997). By defining the evidentiary
boundaries, motions in limine both permit “the parties to focus their preparation on those matters
that will be considered by the jury,” id., and help ensure “that trials are not interrupted mid-

course for the consideration of lengthy and complex evidentiary issues,” United Stntes v. Toknsh

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282 F.3d 962, 968 (7th Cir. 2()02).

As with all evidentiary matters, the court has broad discretion when ruling on motions in
limine. Unifeci Srates v. Ajayi, 2015 WL 8538()25, at *5 (7th Cir. Dec. 11, 2015); Jenkins v.
Cnrysler Mr)rors Corp., 316 F.3d 663, 664 (7th Cir. 2002). l\/loreover, the Court can change its
ruling at trialr “even if nothing unexpected happens[.]” Lnee, 469 U.S. at 41. Ruling in limine
are speculative in effect; essentially, they are advisory opinions. Wilson, 182 F.3d 5 62, 570 (7th
Cir. 1999) (Coffey, J., concurring in part and dissenting in part).

The court will grant a motion in limine to bar evidence only where that evidence is
clearly inadmissible for any purposc. Tnylor v. Union Pac. R. Co., 2010 WL 5421298, at *l
(S.D. lll. Dec. 27, 2()1()). This is a high standard Tnomcis v. Shealian, 514 F. Supp. 2d 1083,

1087 (N.D. lll. 2()(]7). The moving party bears the burden of establishing clear inadmissibility

Enrr)nolciings Cnpirnl & Inv. Corp. v. Harris Trrisr & Sav. Bnnlc, 602 F. Supp. 2d 928, 934 (N.D.
lll. 2009). If the moving party cannot satisfy her burden, the evidentiary ruling should be
deferred until trial. Green v. Goocl_vear Drinlop Tires N. Am., er., 2010 WL 747501, at ‘*l (S.D.
lll. Mar. 2, 20 `10). That is because, at trial, the Court will have the benefit of understanding “the
context, foundation, and relevance of the contested evidence within the framework of the trial as
a whole.” Ccisares v. Bernnl, 790 F. Supp. 2d 769, 775 (N.D. lll. 2011).

III. DISCUSSION

A. Ferrone’s Motion In Limine To Exclude Evidence Concerning McClain, Sr.’s Alleged
Separate Fraud On The Texas Clinic Patients

1. The F actual Background

ln July, 2008, McClain, Sr. went to Holistic Health Care Center, located in Boerne,
Texas. While there, he made a presentation during which he tried to convince the attendees,
including terminally~ill patients, to purchase Immunosyn stock. In the course of his remarks,
McClain, Sr. made several fraudulent statements SEC v. Ferrone, 2014 WL 5152367, at *4
(N.D. lll. Oct. 10, 2014), appeal dismissed (J'an. 22, 2015). (For a more thorough discussion of
the facts underlying the TeXas fraud, see the opinion granting summary judgment for the SEC on
its claims against McClain, Sr. Id. at `“2-4.) McClain, Sr. said that the Department of Defense
purchased 600,000 vials of SF-1019. He claimed that the FDA issued compassionate use
waivers for SF-1019. He asserted that Phase 2 clinical trials would start in the near future. And
he declared that FDA approval would come shortly after that. Following the presentation,
McClain, Sr. agreed to sell his stock to some of the attendees, and he took their money. But he

never delivered the shares.

2. Ferrone’s Motion To Exclude Evidence Ol` The Texas Clinic Fraud

Ferrone has moved to exclude evidence of McClain, Sr.’s fraud at the Texas clinic (as
described in paragraphs 49 through 53 of the complaint (ECF No. 1, ‘ll‘il 49-53). [ECF No. 146.]
He asserts that this evidence is not relevant and would be unfairly prejudicial Icl. at 3. The
Court agrees

The SEC advances one broad theory of relevance According to its thinking, McClain,
Sr.’s conduct is relevant because it is “consistent with the overall scheme in which Ferrone
participated."' [ECF No. 157, at 2.] Essentially, the SEC wants thejury to lump Ferrone and
l\/lcClain, Sr. together. But the SEC has not produced any evidence that Ferrone was involved,
even tangentially, with the 'l`exas fraud. Ferrone’s trial is no place for evidence about a different
fraud committed in a different place by a different person who made different statements under
different circumstances

The SEC seems to realize that its argument is not tenable because it quickly backtracks,
only "envision[ing]” two limited circumstances when it would seek to introduce evidence of the
Texas fraud. 101 at 3. The SEC asserts that, if it calls as a witness an investor who was at the
Texas clinic, the investor witness should be able to describe McClain, Sr.’s statements because
they were "similar" to Ferrone’s statements Id. The same flaw that undermines the SEC’s
broad theory of relevance is fatal to this chain of reasoning Simply put, similarity (of which
there is little here, in any event) is not the same as relevance

The SEC also wants to be permitted to use evidence of the Texas fraud to impeach
McClain, Sr. He is listed as a “may call” trial witness by the SEC. [ECF No. 197-1]. lf, as
discussed above, l\/lcClain, Sr. cannot testify about the Texas clinic fraud then it is unnecessary

to impeach him with alleged statements he made in furtherance of that fraud. “[O]ne may not

impeach by contradiction regarding Lcollateral or irrelevant matters.”’ Newmnn v. Gnerz, 2011
WL 320229, at *`l (N.D. lll. Jan. 31, 2011) (quoting Unitecl Srates v. Kr)zinslci, 16 F.3d 795, 805
(7th Cir_ 1994)). “A matter is collateral if it ‘could not have been introduced into evidence for
any purpose other than contradiction.”’ Id. (quoting United Stntes v. Willinmson, 202 F.3d 974,
979 (7th Cir. 2000)). Because evidence of the Texas fraud would not be admissible for any other
purpose, it cannot be used to impeach McClain, Sr. That means evidence of the Texas fraud is
irrelevant to this case and therefore is inadmissible under Federal Rule of Evidence 401.

The evidence also is inadmissible under Federal Rule of Evidence 403 because the
danger of unfair prejudice substantially outweighs the probative value of the evidence
“Evidence is unfairly prejudicial if it appeals to the jury's sympathies, arouses its sense of horror,
provokes its instinct to punish, or otherwise may cause a jury to base its decision on something
other than the established propositions in the case.” Unired Srares v. Tnompson, 359 F.3d 470,
479 (7th Cir. 2004) (internal quotation marks omitted). The SEC’s proposed evidence of the
Texas fraud pushes many of these buttons. lt arouses a “sense of horror” and provokes an
“instinct to punish” because McClainJ Sr. took advantage of terminally-ill patients by lying to
them and then taking their money without giving anything in return. The natural feeling of
horror at such conduct and the resulting instinct to punish could be improperly channeled to
Ferrone. In fact, if the jury adopted the thinking that underlies the SEC’s broad theory of
relevance, then the jury would do just that - attribute l\/lcClain, Sr.’s misconduct to Ferrone. For
that same reason, evidence of the Texas clinic fraud also may cause a jury to decide Ferrone’s
case based on irrelevant evidence. Clearly, the risk of unfair prejudice is significant

On the other side of the balanceJ the evidence has no probative value because it is not

relevant to the SEC’s claims against Ferrone. But even if the evidence were marginally relevant

to a disputed issue in this case, its probative value in that respect would still be substantially

outweighed by the danger of unfair prejudice That means that, were the evidence admissible

under Federal Rule of Evidence 401, it still would be barred by Fedcral Rule of Evidence 403.

B. Ferrone’s Motion In Limine To Exclude As Trial Exhibits Privilege-Asserted
Documents Produced After Discovery Cut-Off, And The SEC’s Motion In Limine No. 2
For A Pre-Trial Ruling That The SEC Can Introduce Into Evidence Two Documents
Notwithstanding Flawed Privilege C|aims

l. The Factual Background

ln April, 2013, the SEC issued a subpoena to Todd Ollendorff, a non-party contractor
who worked for lmmunosyn and Argyll. The same day, the SEC notified Ferrone’s counsel that
it had sent the subpoena to Ollendorff. [ECF No. 143-13, at 2.] The Subpoena specifically
requested that Olleiidorff produce documentsl Icl. Two months later, Ollendorff began
producing responsive documents to the SEC. Because of the volume of documents, Ollendorff
made his productions on a rolling basis.

During the initial rounds of production, the SEC Bates stamped the documents, uploaded
them to its document management system, and promptly produced them to Ferrone’s counsel.
But the SEC did not do that when Ollendorff produced about 80,000 documents in early August
2013 (the "August Documents”). The SEC still Bates stamped the August Documents - SEC-
Ollendorff-E-26995 through SEC-Ollendorff-E-111902 4 and uploaded them to its system, but it
did not immediately produce them to Ferrone’s counsel

The SEC proceeded in this manner because John Franczyk, an attorney for the two
l\/lcClain’s, informed the SEC that he believed some of the documents requested by the
Ollendorff subpoena may have been privileged The SEC did not believe that any privilege

protected the August Documents, but it still agreed to give Franczyk time to conduct a privilege

review. So, on Septernber 10, 2013, the SEC produced all of the August Documents to

Franczyk. See ECF No. 143~14, at 2. The SEC notified Franczyk in an accompanying letter that
the documents were not being turned over to Ferrone’s counsel pending Franczyk’s privilege
review. Id.

That same day, the SEC produced other Ollendorff documents f but not the August
Documents - to Ferrone’s counsel See ECF No. 143-15, at 2. ln an accompanying letter, the
SEC notified Ferrone’s counsel that the production did not include potentially privileged
documents provided by Ollendorff that had been given to Franczyk for a privilege review. Id.

Franczyk, however, never conducted a privilege review, or at least he never informed
either the SEC or Ferrone"s counsel ofthe results of his privilege review. Ferrone’s counsel did
not follow up with the SEC about the August Documents and the SEC also did not follow up
about Franczyk’s supposed privilege review The glitch was discovered in January of 2014
when the SEC sent Ferrone’s counsel a list of documents that the SEC would use in the
upcoming deposition of McClain, Jr. [ECF No. 161-12.] After reading the list, Ferrone’s
counsel informed the SEC that he did not have some of the listed documents Id. lie also told
the SEC that he did not have any documents in the Bates-range of the listed documents Id. at 2.

According to the SEC, “when the SEC’s counsel began preparing for the l\/lcClain, Jr.,
deposition in January 2014, the SEC’s counsel did not focus on the fact that the SEC had
produced certain Ollendorff documents to the l\/lcClains’ counsel but not to Ferrone’s counsel.”
[ECP No. l6l, at l l.] The SEC characterizes this as “an oversight.” Icl.

lust before the deposition commenced, the SEC provided to Ferrone’s counsel the listed
documents that it had not previously turned over. [ECF No. 161~12.] Shortly thereafter, the
SEC discovered that it had never produced to Ferrone’s counsel the other August Documents lt

so informed Ferrone’s counsel on February 10, 2014. [ECF No. 147-1, at 4.] The SEC assured

Ferrone’s counsel that it had already begun getting the documents ready to hand over. lcl. But
more than a month passed before the missing documents were finally produced on March 14,
20l4. See ECF No. 143-16, at 2. This was over four months after the fact discovery cut-off on
November 12, 2013. [ECF NO. 64.]1

2. Ferrone’s Motion To Exclude Documents Produced After Discovery Cut-Off

Ferrone has moved to prevent the SEC from introducing any of the August Documents as
exhibits during trial. [ECF No. 147.] He concedes that he cannot assert any privilege in the
documents because he is no longer employed by lmmunosyn and has no right to raise any
privilege the company may have or have had in the documents Iel. at 3.2

Ferrone’s motion is premised on the idea that he would suffer unfair prejudice at trial if
the Sl:`C were permitted to introduce the August Documents because he “did not have an
opportunity to investigate [them] through the discovery process.” fail3 Ferrone argues that the
“prej udice to defendant is apparent,” [ECF No. l7l, at 4.] But Ferrone has not identified any
additional discovery that he would have taken if he had received the documents in a timely
manner. He has not identified one additional interrogatory, one additional document request, or
one additional deposition question that he would have served or asked if he had the documents

sooiier. His unsupported and undeveloped assertion of prejudice is not enough to merit barring

 

' The Court’s order closing discovery on this date excepted the deposition of McClain, Jr. [ECF No. 64.]
3 Even if Ferrone could assert lmniunosyn’s attorney-client privilege, it is debatable whether lmrnunosyn
even has any residual attorney-client privilege over these documents lmmunosyn’s corporate status was
voided in l\/larch, 2010. [ECF No. 143, at 3.] Eight months later, in November, Immunosyn stopped
making required periodic filings with the SEC. Ici. ln April, 2012, the Court entered a default against
lmmunosyn in this litigation Icl. lf these facts establish that lmrnunosyn had suffered its corporate
dcath, then its attorney-client privilege would not survive absent a compelling rcason. O]j‘ieial Comm. of
Adniin. Clnimnnrs ex rel LTVSreel Co. v. Moran, 802 F4 Supp. 2d 947, 948-49 (N.D. lll. 2011);
Ea'gewrtrer Meci. Crr. v. Rognn, 2010 WL 2711448, at *5 (N.D. Ill. July 6, 2010); TAS Disirib. CO. v.
Crimrnins IHC., 2009 WL 3255297, at *2 (C.D. lll. Oct. 7, 2009).

3 Ferrone does not assert that he would he prejudiced because he had inadequate time to review the
documents before tria]. lndeed, il" the trial begins on the date currently scheduled1 Ferrone will have had
the August Documents for over two years

these documents at trial because “[s]peculation is not enough” to establish actual prejudice fn re
SnlfnricAeicl AnrirriisrLirig., 231 F.R.D. 331, 339 (N.D. lll. 2005).

Ferrone also fails to explain how the SEC obtained an unfair advantage during discovery
because it had access to the August Documents before he did. The SEC represents that the only
discovery impacted by the documents was l\/lcClain, Jr.’s deposition [ECF No. 161, at 13.]
Ferrone has not disputed this assertion Before the deposition began, the SEC provided
Ferrone’s counsel with the documents it was going to use during the deposition After this
production Ferrone did not ask to reschedule the deposition because he needed more time to
review the documents Ferrone has not explained how the late production limited his counsel’s
questioning of l\/lcClain, J'r. during the deposition And Ferrone did not seek to reopen the
deposition at a later date to ask questions prompted by a more thorough review of the
documents Ferrone also has not described how the SEC’s earlier possession of the documents
gave it any advantage, much less an unfair one, during the deposition

Moreover, Ferrone was not an innocent and helpless bystander limited to a passive role
during the time Franczyk supposedly was conducting a privilege review of the August
Documents His counsel knew in April of 2013 that the SEC had served Ollcndorf with a
subpoena [ECF No. 143-13, at 2.] His counsel knew in September of 2013 that the SEC had
given the August Documents to Franczyk and not to Ferrone’s counsel. [ECF No. 143-15, at 2.]
Ferrone could have followed-up on the production of those documents in a number of ways and
at any time. He could have followed up with Franczyk or the SEC about the documents He
could have filed a motion to compel the SEC to produce all the documents it obtained from
Ollendorf. He could have served his own subpoena on Ollendorf. He could have filed a motion

to extend discovery pending the privilege review. Even after the close of discovery, he could

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have filed a motion to reopen discovery after he received the documents See Brrlscnmiier v. TD
Anro Fin. LLC, 2015 WL 2451853, at *9 (E.D. Wis. May 21J 2015) (eXplaining that discovery
can be reopened for good cause). But Ferrone did not take any of these steps

The Court understands that in the midst of discovery, particularly discovery involving a
large number of documents and parties or third-parties, sometimes things slip through the cracks.
A simple chart identifying subpoenas that had been served on third parties and a checklist noting
whether Ferrone had received copies of all the documents produced pursuant to those subpoenas
would have gone a fair way to alert Ferrone and his counsel to the fact that they had not yet
received the August Documents given to Franczyk for a privilege review.

Ferrone cannot sit on his hands for months and then demand the extreme remedy of
barring evidence at trial. He is responsible for defending his own rights See Pnckman v.
Clricrigr) Tribune C()., 267 F.3d 628, 647 (7th Cir. 2001) (finding that a party was not diligent
during discovery when she knew of allegedly deficient discovery responses before the close of
discovery but waited until after the close of discovery to file a motion to compel). A contrary
determination would create a perverse incentive, encouraging parties to remain silent when they
notice discovery misbehavior by their counterparts secure in the notion they can play “gotcha”
months or years later. Ferrone is not entitled to a “do over” because he failed to protect his own
rights during discovery. See Winrers v. Frti-Cr)n Inc., 498 F.3d 734, 743 (7th Cir. 2007).

Of course, the SEC does not come off smelling like a rose either. The SEC has admitted
it made a mistake - “an oversight"' - by not following up with Franczyk about his supposed
privilege review for months and then identifying for use during l\/lcClain, Jr.’s deposition
documents that had not yet been produced to all parties lt should have followed up much earlier

on Franczyk’s supposed privilege review of the August Documents knowing that it had riot

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turned over those documents to Ferrone. lt could have filed a motion seeking a determination on
the privilege issue before the McClain, Jr. deposition if it was not getting cooperation from
Franczyk. lt could have asked that the documents be produced to all parties subject to a non-
waiver or claw-back order under Federal Rule of Evidence 502 (as, for that matter, Ferrone could
have done since he was privy to any privileged communications while he was CEO of
[mmunosyn). But the SEC’s mistakes do not justify the sanction of preventing it from using the
documents under the circumstances of this case.

The SEC also overstepped in responding to Ferrone”s motion in limine The SEC argues
that Ferrone violated his duty to preserve and produce documents because he should have
produced the communications contained in the August Documents himself [ECF No. 161, at
10-11.] The SEC claims that this duty was triggered in 2009 when it issued investigative
document subpoenas and took Ferrone’s sworn investigative testimony The SEC contends that
Ferrone, at that early date, failed to produce thousands of documents including hundreds of
emails that were in Ollendorffs production Id, But the SEC has not identified any evidence
that Ferrone either possessed the documents in 2009 when the duty to preserve evidence
arguably was triggered or destroyed them in some impermissible manner before that date. The
Court will not speculate as to what could have happened to any copies of the documents that at
one time were or may have been in Ferrone’s possession or control. And the SEC should not
lightly make an unsupported assertion of serious discovery misconduct without a shred of
supporting evidence

For all of these reasons, despite the SEC’s discovery lapse, Ferrone has not provided an

adequate justification to bar the use at trial of the August Documents Accordingly, his motion is

denied.

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3. The SEC’s Motion In Limine No. 2

The SEC has asked the Court to rule that it can introduce into evidence at trial two strings
of emails (with some redactions), one from October 2007 and one from November 2007. [ECF
No. 142.] Both email strings involved Ferrone and both mentioned the FDA’s clinical hold on
SF-1019. This motion is related to the immediately preceding discussion because the email
strings were both part of the August Documents produced by Ollendorf. Ferrone states in his
response to this Motion that he opposes the SEC’s motion “for the same reasons stated in
defendant’s motion to exclude . . . ." [ECF No. 160, at 1.] As described above, Ferrone’s
reasons do not justify excluding any of the August Documents from trial. ”l`hereforej the SEC"s
motion is granted The parties are instructed to confer over the SEC’s proposed redactions.
They should then bring any unresolvable issues to the Court’s attention at or before the pre-trial
conference or through appropriate motion practice
C. Ferrone’s Dauberr Motion To Restrict Testimony Of Dr. Peter' Rheinstein

Ferrone has moved to exclude entirely or at least severely restrict the testimony of Dr.
Peter Rheinstein under Daul)ert v. MerrellDow Pharms., Inc., 509 U.S. 579 (1993). [ECF No.
149.] Dr. Rheinstein is a physician who the SEC has identified as an expert in the regulation of
prescription drug development and marketing Ferrone does not challenge Dr. Rheinstein’s
credentials lcl. at 1. Ferrone’s main objections are that portions of Dr. Rheinstein’s report, as
the anticipated basis for Dr. Rheinstein’s testimony, are irrelevant and constitute improper legal
opinions fd. He has a few additional objections that will be addressed as well.

Ferrone did not take Dr. Rheinstein’s deposition Therefore, the only information he and
the Court have about the testimony Dr. Rheinstein might be asked to provide at trial is in Dr.

Rheinstein’s very long 28-page, 108-paragraph Rule 26(a)(2)(B) expert report. The Court

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assumes that the SEC does not intend for Dr. Rheinstein to testify to everything in his report.
That not only would put the jury to sleep but might render them comatose as well. The SEC,
however, has chosen to keep its options open and it defends the relevance and admissibility of
every word of Dr. Rheinstein’s report. That makes the Court’s job in ruling on Ferrone’s motion
in limine a bit more difficult and potentially unnecessary to the extent the Court must address
testimony on aspects of Dr. Rheinstein’s report that the SEC has no real intention of offering into
evidence.

1. Relevance

“An expert's testimony qualifies as relevant under Rule 702 so long as it assists the jury
in determining any fact at issue in the case.” Srulzlmacner vt Home Depor U.S.A., Inc_, 774 F.3d
405 , 409 (7th Cir. 2014), reh’g and suggestion for reli'g en banc denied (Jan. 21, 2015). There
are some straightforward examples of information in Dr. Rheinstein’s report that do not satisfy
this standard For instance, in Section IV of his report, Dr. Rheinstein spends more than an
entire single-spaced page listing “important events in the history of the FDA and Drug
Regulation in the United States.” [ECF No. 149-1, at pp. 6-7.] The first listed event dates back
almost 200 years Irl. '|l 18(a).4 Why the jury needs this information and why the SEC believes
this information will provide the jurors “with important background to assist them iri evaluating
the allegations against Ferrone” is beyond the ken of this Court. [ECF No. 159, at 7]. Clearly,
this historical information - while it may be interesting to some - is irrelevant to the facts in this

case and the current law that governs it. See In re Ocenn Bank, 481 F. Supp. 2d 892, 901 (N.D.

 

4 This helpful piece of trivia reads as follows: “1320 - Elevcn physicians meet in Washington, D.C., to
establish the U.S. Pharmacopeia, the first compendium of standard drugs for the Unitcd States. These
physicians recognized that establishing the identity of a drug is fundamental to understanding the effects
ofthe drug and rising it rationally.”

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lll. 2007) (explaining that the history of the F air Credit Reporting Act is “irrelevant to the current
law that will govern this case”).5

Likewise, the discussion in Section V of Dr. Rheinstein’s report about veterinary
biologics, which are not at issue in this case and which the United States Food and Drug
Administration (“FDA”) does not regulate, appears to be irrelevant [ECF No. 149-1, 1111 25, 26,
27.] And Dr. Rheinstein’s belief that certain statements made by Ferrone, let alone his former
co-defendants before the claims against him were severed violate a law or regulation that is not
at issue in this case also is irrelevant ld. 11 79.

There also are easy examples of what is or at least may be relevant. Some of Dr.
Rheinstein’s statements in Section Vl of his report, for example, about the IND process may be
relevant to the jury’s understanding of the significance or importance of the clinical hold placed
on SF-1019. At the same time, however, the Court agrees with Ferrone that expert testimony
about regulatory standards and industry standard of care that might be relevant in a product
liability case generally is not relevant in this case. [cl. 1111 28, 29, 30, 31, 33. And, as Ferrone
also points out, some of this testimony from Dr. Rheinstein may be unnecessary or cumulative of
testimony from other witnesses and some of it is just plain overkill.6

Relatedly, some testimony from Dr. Rheinstein about institutional review boards
("lRBs"), irl. 1111 34-36, may be relevant because the complaint alleges that lmmunosyn issued a

misleading press release that discussed studies being conducted with the approval of and under

 

5 Another gem from Dr. Rheinstein’s report guaranteed to enliven dinner table discussion somewhere,
though not the jury in this case: “l9l2 4 Congress enacts the Shcrley Amendmcnt to prohibit labeling
medicines with false therapeutic claims intended to defraud the purchases The law overcame a Supreme
Court ruling that the 1906 Food and Drugs Act did not outlaw false medical claims but only false and
misleading statements about the ingredients of identity ofa di'ug.” [ECF No. 149-1, 11 l8(d).]

(` E.g., "For products of animal origin, characterization of the production process should include the
absence of known and potential human pathogens, (both adventitious and endogenous agents.” Id. 11
28(b).

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the supervision of an lRB. [ECF No. 1, 11 39.] So, a brief description of the purpose or role of an
lRB could be helpful to the jury. But, again, some of the information in paragraphs 34 through
36 ofDr. Rheinstein’s report concerning the role of an IRB seems irrelevant and untethered to
any issue in this case other than as very deep background7 Likewise, some of his discussion of
the so-called compassionate use exception or waiver [ECF No. 149-1, 1111 48-52] potentially may
be relevant because the SEC alleges misleading statements referencing compassionate use
waivers appeared in a video presentation posted on lmmunosyn’s web site. [ECF No. 1, 11 38.]
So, if that evidence comes in, then some information about what a compassionate use waiver is
may be helpful.

Dr. Rheinstein’s opinions about what Ferrone should have known and done, however,
likely are not admissible or relevant, and neither is his belief that Argyll or lmmunosyn "`should
have been aware"' of something in a case in which negligence is not the standard [ECF No. 149-
l 1111 92, 93.] His descriptions of what information was publicly available on the FDA’s website
may or may not be relevant to Ferrone’s argued good faith or recklessness depending upon the
theory under which the SEC offers that evidence, what Ferrone is expected to say on the witness
stand, and his theory of the case. See, e.g., id 1111 53-62, 82. Ferrone’s wholesale attack on Dr.
Rheinstein’s anticipated testimony in this area, however, and the SEC’s blanket defense of the
same, is not very helpful in the abstract Simply put, what and how much evidence about the
above topics will be relevant or admissible at trial depends to a large extent on what other

evidence comes in or is expected to come in, and the parties’ theories of their respective cases

 

7 See, e.g., "'l`he IRB may only approve research for which there is a bona fide informed consent process
for participantsJ for which the risks to subjects are balanced by potential benefits to society, and for which
thc selection of subjects presents a fair orjust distribution of risks and benefits to eligible participants."
[ECF No. 149-1, 11 34.]

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A final illustration of this point may be helpful The parties dispute how much evidence
regarding Dr. Aithur Ericsson’s misconduct and his disqualification by the FDA as an
investigator is admissible in this case. This is a topic on which Dr. Rheinstein opines. Id. 1111 91-
101. lt may well be that the fact that the FDA disqualified Dr. Ericsson as an investigator is
relevant because that decision may have altered the prospects for lifting the clinical hold on SF-
1019, thereby impacting the importance of the hold itself and the total mix of information in the
marketl The specific reasons for his disqualification however, are almost certainly not relevant.
Again, the Court is hampered in trying to define the contours of admissible evidence regarding
Dr. Ericsson without more information about the context in which the subject of his
disqualification will come up at trial.

There are a few legal principles that reinforce the Court’s decision not to rule in limine
about the relevancy of every line in Dr. Rheinstein’s report There is a general principle that
evidentiary rulings related to relevance are best deferred until trial so that they can be resolved in
the proper context. Mnsr)n v. City r)fChicegr), 631 F. Supp. 2d 1052, 1055 (N.D. lll. 2009).
Further, wholesale objection on the grounds of relevance is difficult because “the Supreme Court
has stated that there is a ‘low threshold’ for establishing that evidence is relevant.” Unit‘eci Stntes
v. Borr)s, 668 F.3d 901, 907 (7th Cir. 2012). And motions in limine to exclude evidence are only
granted where that evidence is inadmissible “on all potential grounds.” Mnson, 631 F. Supp. 2d
at 1055. Because the relevance of evidence often depends on what happens at trial, that standard
is particularly difficult to meet when asserting a relevance objection Finally, the principle of
judicial economy supports this conclusion because the SEC probably will not attempt to elicit at

trial everything or even close to everything in Dr. Rheinstein’s report For example, the SEC

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only argues that “[b]rieftestimony” about the matters discussed in Sections IV through Xl of the
report would be helpful to jurors [ECF No. 159, at 7.]

2. Legal Opinions

Ferrone contends that large portions of Dr. Rheinstein’s anticipated trial testimony
constitute improper legal opinions Ferrone is correct that an expert generally may not offer
legal opinions Jimenez v. Ciiy ofClricago, 732 F.3d 710, 721 (7th Cir. 2013). More
specifically, an expert usually cannot testify about how a law should be interpreted or what it
means Bammerlin v. Nnvistnr Inr'l Trrinsp. Corp., 30 F,3d 898, 900 (7th Cir. 1994); Jr)nes v.
Union Pnc. R.R. Cr)., 2015 WL 5252958, at *6(1\1.]`_). lll. Sept. 8, 2015); Aleksic v. Clnrity Servs.,
Inc., 2015 WL4139711, at "=6 (N.D. lll. July 8, 2015); Unirecl Srnres v. Cr)lten, 2012 WL 668478,
at " 1 (C.D. lll. Feb. 28, 2012); Unired Stares v. Cinergy Corp., 2009 WL 77680, at *l (S.D. lnd.
Jan. 9, 2009); Haager v. Cniengo RnilLink, LLC, 232 F.R.D. 289, 294-95 (N.D. lll. 2005);
Uniierl Stcrres v. Cnpi.ito, 382 F. Supp. 2d 1045, 1054 (N.D. lll. 2005). This principle applies to
Dr. Rheinstein and to any attempts by him to interpret the FDA’s regulations

But the rule does not prohibit Dr. Rheinstein from providing relevant testimony about his
understanding of and experience with the drug approval process, lRBs, compassionate use
waivers, and so on l\/loreover, Dr. Rheinstein may be permitted at trial to reference a regulation
if necessary to explain his opinions or the bases for them, so long as he does not render legal
opinions Because the admissibility of Dr. Rheinstein’s testimony in this respect depends largely

on what testimony the SEC intends to elicit in this area, the issue is reserved until trial

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3. Additional Objections

Ferrone raises a smattering of other objections to Dr. Rheinstein’s report. Ferrone first
notes at one point that the only foundation for the IND statistics referenced in Section Vl is a
citation to the FDA"s website. Ferrone neither asserts that Dr. Rheinstein misstated the numbers
as reported by the FDA nor argues that the numbers are unreliable lt is not clear therefore why,
or even if, he believes this reliance on the FDA’s website merits exclusion Ferrone’s failure to
develop this argument means it need not be considered Green, 2015 WL 1509776, at *5.

Ferrone has two objections to Section Xll of Dr. Rheinstein’s report. He asserts that,
throughout that portion of the report, Dr. Rheinstein essentially functions as a summary witness
Ferrone’s characterization is not accurate Dr. Rheinstein does quote extensively from
documents in that Section of his report. These quotations, however, appear to be included in the
report to provide the necessary foundation for his opinions lf that is the reason Dr. Rheinstein
includes these documents in his report and the reason the SEC may seek to elicit testimony about
the documents quoted in his report, that is not necessarily improper. ln fact, the Federal Rules of
Civil Procedure require that Dr. Rheinstein’s report include the basis for his opinions and all
facts or data which he considered in forming them. FED. R. CIV. P. 26(a)(2)(B).

On the other hand, if the SEC simply intends to have Dr. Rheinstein summarize every
piece of evidence that the SEC feels is important as part of a summary narrative characterized as
a “regulatory status timeline from December 2006 through December 2008” [ECF No. 149-1, 1111
63-101], that is not expert testimony, lf, at trial, Dr. Rheinstein attempts to testify as though he
were a summary witness rather than an expert, Ferrone may object at that time. But if Dr.
Rheinstein needs to refer to certain documents to support his opinion(s), that would not be

improper.

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That leaves Dr. Rheinstein’s assorted opinions, which are sprinkled throughout his report,
and his “conclusions`“ listed at the end of his report. Ferrone considers some of Dr. Rheinstein’s
opinions to be nothing more than unsupported subjective impressions Ferrone only identifies
two paragraphs 69 and 86, when mounting this argument ln both paragraphs Dr. Rheinstein
opines that the clinical hold would take several years to resolve. Ial. 1111 69, 86. This is not
simply a conclusory assertion ln support of that opinion, Dr. Rheinstein reasons why he
believes this would be the case. Id. ln doing so, he clearly drew on his specialized knowledge of
and experience with the clinical hold process This is a far cry from talking “off the cuff” as
Ferrone contends [ECF No. 149, at 12.] The SEC contends that this testimony is relevant to
helping the jury to understand the materiality of the information the SEC contends Ferrone did
not disclose to investors The Court agrees Of course, it goes without saying that Dr.
Rheinstein also will be subject to cross-examination about these opinions

Ferrone’s remaining objections attack Dr. Rheinstein’s conclusions which are listed in
Section Xlll of his report. [ECF No. 149-1, 1111 102-108.] The Court already has addressed
whether and to what extent Dr. Rheinstein can testify about information on the FDA’s website,
whether the IND had any chance of being approved and how long it would take to lift the
clinical hold ]cl. 1111 102, 103, 105. Dr. Rheinstein cannot testify about Argyll’s, lmmunosyn’s,
or Ferrone°s actual state ofmind. Icl. 1111 106, 107, 108. Fife v. mPhase Tecns., Inc., 2014 WL
2514565, at ’*=5 (N.D. lllt lune 4, 2014). He also cannot summarily assert that Immunosyn or
Argyll is responsible for failing to disclose the clinical hold [ECF No. 149-1, 11 104.] That is
for the jury to decide based upon the evidence.

Accordingly, for the reasons discussed above, Ferrone’s Douberr motion is granted in

part, denied in part, and reserved in part. To the extent more clarity or precision is required with

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respect to the parameters of Dr. Rheinstein’s testimony, the Court can further address those
issues with counsel at the pre-trial conference
D. Ferrone’s Motion In Limine To Exclude Testimony Of Drs. Hazelwood And Kanter

Ferrone has moved to exclude the testimony of Drs Carlton Hazelwood and Peter
Kanter. [ECF No. 148.] During 2006, 2007, and 2008, Dr. Hazelwood was the chairman of the
Burzynski Research lnstitute’s IRB (“BRl-IRB”). In this capacity, he approved Dr. Ericsson’s
request to conduct compassionate use treatments with SF-1019. Dr. Hazelwood explained in his
deposition that he did not know about the clinical hold when he gave this approval and that he
would not have done so had he known about it.

Ferrone first objects to Dr. Hazelwood’s testimony as entirely irrelevant because Dr.
Hazelwood and he never interacted. For that reason, much of Dr. Hazelwood’s deposition is
focused on communications and work with Dr. Ericsson and McClain, Sr. This is not enough,
however1 to make all of Dr. l-lazelwood’s potential testimony irrelevant The complaint alleges
that around October, 2007, Immunosyn posted on its website a video of a presentation given by
Ferrone and McClain, Sr. [ECF No. 1, 11 38.] ln that video, McClain, Sr. referenced the BRl-
lRB’s approval of Dr. Ericsson, stating that “[c]ompassionate use waivers have already been
issued by the institutional review board of the FDA in Houston, Texas for the use of SF-1019.”
Id.; [ECF No. 163-12, at 12.] Immunosyn also issued a press release the following month in
which it talked about the study approved by BRl-IRB and touted “extraordinary” results Id. at
6-7. Finally, lmmuriosyn`s Form 10-K mentions “a limited feasibility clinical study of SF-
1019,” which seems to refer to the BRl-lRB-approved research. [ECF No. 163-9, at 5.]

The SEC alleges that these statements were materially false and misleading The jury

cannot determine whether the statements were false and misleading unless it knows the actual

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facts about the study and BRI-lRB’s approval. The jury also cannot determine whether the
statements were material without knowing the total mix of information related to these topics
Dr. Hazclwood, as the chairman of BRl-lRB, potentially can offer relevant testimony as to these
facts This does not give Dr. I-lazelwood carre blanche to delve into irrelevant topicsJ such as the
details of Dr. Ericsson’s misconduct Ferrone’s counsel may object if Dr. l-lazelwood’s
testimony veers into such territory or before he takes the stand if the issue can be framed
properly Again, however, the admissibility of some of this testimony depends upon the other
evidence in the case at the time it is offered The Court also can, if necessary, further address the
boundaries of permissible testimony in this area at the pretrial conference

Ferrone’s second objection is that Dr. l-lazelwood’s testimony would be unfairly
prejudicial, a waste of time, and confusing if he essentially confesses to forming a criminal
conspiracy with Dr. Ericsson. This contention is not an accurate characterization of Dr.
Hazelwood’s deposition testimony, in which he claimed he did not know about the clinical hold
and would not have approved Dr. Ericsson’s study if he did Regardless, Ferrone has not
explained how lumping Dr. l-lazelwood in with Dr. Ericsson would unfairly prejudice Ferrone if
Dr. llazelwood’s testimony is properly circumscribed lf there are timing or confusion issues at
trialt Ferrone`s counsel should object at that time Again, if the Court is misperceiving this
objection counsel should explain it at the pretrial conference

Ferrone’s final objection is that Dr. Hazelwood should not be allowed to offer expert
testimony because he was not disclosed as an expert. The SEC does not contend otherwise
Therefore, Dr. Hazelwood’s cannot testify at trial about what “expert” opinions he holds and
how he now understands the regulatory and drug development He is a fact witness and he is not

precluded from testifying about what he knew, learned or understood so long as that testimony

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is otherwise relevant Such testimony would be factual, and, therefore not invade the province
of experts Again, Ferrone`s counsel should object at trial if he believes Dr. Hazelwood is
crossing or about to cross this line lf a limiting jury instruction is necessary on this issue, the
Court will consider any suggestions either party has along those lines And if the Court is
missing something, counsel should clarify the matter at the pretrial conference

The other doctor, Dr. Kanter, worked for a company named lso-Tex. Argyll hired lso-
Tex to help remedy the deficiencies identified in the FDA’s clinical hold letter. ln this
arrangement7 Dr. Kanter reviewed the clinical hold letter, evaluated the seriousness of the
deficiencies and discussed them with, among others, Miceli, McClain, Jr., and one of Argyll’s
investigators He did not discuss them with Ferrone. Dr. Kanter also conducted autopsies on
animals injected with SF-1019 and formulated reports based on these autopsies

Ferrone objects to Dr. Kanter’s testimony as expert testimony for the same reason that he
did so with respect to Dr. l-lazelwood, Again, the SEC concedes that Dr. Kanter is not an expert
witness The Court’s ruling with respect to this matter is the same as it was with respect to Dr.
l-lazelwood.

Ferrone’s other objection is that Dr. Kanteris testimony is not relevant8 He asserts that
Dr. Kanter’s communications about the clinical hold letter are irrelevant because he did not
communicate with Ferrone. Ferrone then contends in a conclusory manner that the rest of Dr.
Kanter’s testimony is irrelevant [ECF No. 148, at 5.]

The SEC offers three theories of relevance in response First, the SEC argues that Dr.
Kanter’s testimony about the status of the clinical hold and the efforts to lift it are relevant to

whether some of the allegedly false and misleading statements were actually false and

 

5 Ferrone objects under Federal Rules of Evidence 401 and 403. [ECF No. 148J at 5.] But the only
reason he provides for this objection is that Dr. Kanter’s testimony is irrelevant

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misleading The SEC is correct because some of the statements describe the status of SF-l 0l9’s
development For instance, during McClain, Sr. and Ferrone’s video presentation, McClain Sr.
stated, “[W]e have initiated the process for regulatory approval in several countries and
preparations for clinical trials are underway in both the US and Europe.” [ECF No. l, ‘|l 38.]
Whether such a statement was misleading cannot be determined without knowing the actual
progress of the “process” and ‘°preparations.”

The SEC next argues that Dr. Kanter’s testimony is relevant because it goes to
recklessness Dr. Kanter will establish, the SEC contends that the clinical hold deficiencies
were very significant and that knowledge of the problems was pervasive within Argyll and
lmmunosyn. lf proven, these facts may make it more likely that Ferrone was reckless in not
knowing about or disclosing the problems Moreover, Immunosyn had a contractual right to
require Argyll to provide periodic updates with supporting documentation "`with respect to
material facts regarding current strategies and developments on SF-lO 19 . . . .” Trial Exhibit 65.
The SEC argues that Ferrone may have been reckless in failing to assert this legal entitlement to
find out material facts known within Argyll. Ferrone responds by citing evidence that the people
at Argyll kept him in the dark. But this does not make the SEC"s evidence irrelevant Ferrone’s
objection goes to weight and it creates a factual question for the jury.

Because the Court agrees with these first two theories of relevance, it need not address
the SEC’s contention that Dr. Kanter’s testimony is relevant as circumstantial evidence that
Ferrone knew what Dr. Kanter was saying to others But, at first blush, the Court agrees with

Ferrone that this theory appears to be a stretch.

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E. The SEC’s Motion In Limine No. 3 To Preclude Ferrone From Offering Evidence Or
Argument About Investor Reliance

The SEC has moved to bar Ferrone from introducing evidence or making argument about
investor or broker reliance on the misstatements at issue in this case. [ECF No. 144.] The
evidence to be precluded includes evidence that investors or brokers never heard, read, or relied
upon the alleged misstatements Id. at ]. The argument to be precluded is that the misstatements
were not material because the investors did not discover them or did not rely on them. Id. The
SEC conceded in its initial brief that such evidence may be admitted for background or
foundation purposes Id. More importantly, in its reply brief, the SEC conceded that if an
investor witness testifies about what would have been important to her when she purchased
Immunosyn stock, Ferrone may cross-examine that witness about her contemporaneous conduct
[ECF No. 168, at 2.] The SEC also conceded that Ferrone may argue that an investor witness’s
contemporaneous conduct contradicts her assertion that some information was material. Id. at 3.

In his response brief (that is, before the SEC’s latter two concessions), Ferrone conceded
that he would not argue either that reliance was an element of any claim or that any investor’s
action or inaction proves that a statement was not material. [ECF No. 162, at l.] Ferrone
contended, though, that he must be allowed to thoroughly cross-examine any investor witness
who testifies about materiality Specifically, Ferrone stated that he should be able to ask her
about what contemporaneous actions she took and her decision-making process Id. at 1-3. Such
questioning would allow Ferrone to try to discredit the investor witness’s assertions about
materiality Id. at 2.

ln light of the concessions in the SEC’s reply brief, it appears that the parties now largely
agree as to the permissible scope of evidence and argument regarding investor reliance. [ECF

No. 168, at 4.] The SEC’s motion shall be granted in part and denied to the extent of the above

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discussed concessions lf issues arise at trial concerning particular questions lines of inquiry, or

arguments the Court will address them at that time.

F. The SEC’s Motion In Limine No. 1 T0 Preclude Defendant From ()ffering Evidence Of
Or Argument At Trial That He Reasonably Relied On Advice Of Counsel Or The
Involvement ()f Lawyers Or Other Professionals

The SEC has moved to preclude Ferrone “from offering evidence or argument at trial that

[Ferrone] reasonably relied on advice of counsel or the involvement of lawyers or other

professionals in preparing Immunosyn"s public statements and SEC filings.” [ECF No. 140, at

l.] The SEC contends that reliance on advice of counsel is an affirmative defense that a

defendant cannot raise without establishing that “he (l) made complete disclosure to counsel, (2)

sought advice as to the legality of his conduct, (3) received advice that his conduct was legal, and

(4) relied on that advice in good f`aith.” SEC v. Enterprises Sc)lutir)ns, Inc., 142 F. Supp. 2d 561,

576 (S.D.N.Y. 2()()1) (citing Mnrkowski v. SEC, 34 F.3d 99, 105 (2nd Cir. 1994)). According to

the SEC, Ferrone cannot establish these four elements of the reliance on advice of counsel

defense, so any evidence about the involvement of lawyers or other professionals in the process
by which Immunosyn made its various public disclosures ultimately is irrelevant and unduly

prejudicial to the SEC, and should be barred pursuant to Federal Rules of Evidence 401 and 403.

Ferrone does not argue that he can satisfy the elements of a classic reliance on advice of
counsel defense. ln fact, he says he is not asserting this defense. Therefore, evidence and

argument relevant only to this defense is barred under Federal Rules of Evidence 401 and 403.

Ferrone counters though, that he still should be able to put on evidence and make
arguments that are relevant to his good faith. He contends that he acted in good faith because,

among other reasons he believed that lmmunosyn’s public filings and releases had been

reviewed and approved by lawyers and other professionals working for the company who would

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have told him if they believed Immunosyn needed to disclose the clinical hold on SF-1019 in
those filings or releases [ECF No. 158, at 1.] l-Ie argues that this evidence is relevant to rebut
scienter as an element of the SEC’s case. Though he acknowledges that he did not rely on any
advice of counsel per se, he apparently wants to argue, in effect, that the participation of others,
including lawyers and other professionals in reviewing (and, according to Ferrone, approving)
lmmunosyn’s public disclosures gave him comfort that they were not materially false or
misleading lf he was wrong in that belief, he seemingly contends it was not because he acted
with intent to defraud investors or in reckless disregard of the truth.

The SEC says that Ferrone"s “good faith” defense is nothing more than a back door way
of arguing reliance on advice of counsel. As the SEC notes, courts frequently refer to the advice
of counsel defense as “good faith reliance on the advice of counsel.” SEC’s Reply, ECF No.
169, at 2 (citing SEC v. Lejjfers, 289 Fed. Appx. 449, 450 (2d Cir. 2008); Eaterpri,se St)t'utr'r)ns,
142 F. Supp. 2d at 576; SEC v. Bcrrtenberg, 2011 WL 3472619, at *5 (E.D. Mich. Aug. 9, 2011)).
But good faith as a defense to a case in which a defendant is alleged to have acted with
fraudulent intent or recklessly can take other forms as Well. See SEC v. Shanahrrn, 646 F.3d 536
(Sth Cir. 2011); SEC v. Rtrbem. 350 F.3d 1084 (9th Cir. 2003); see also Gebhart v. SEC, 255
Fed. Appx. 254 (9th Cir. 2007); SEC v. Qrtan, 2013 WL 5566252 (D. Minn. Oct. 8, 2013);
Branch-Hess l/encling Servs. Emplr)yees'Pensir)n Trrrsr v. Guebert, 751 F. Supp. 1333 (C.D. Ill.
1990).

The SEC has the burden to establish scienter for its claims under Section 10(b) and Rule
10b-5. Aaron v. SEC, 446 U.S. 680, 691 (1980). Scienter is “a mental state embracing intent to
deceive, manipulate, or defraud.” Tellebs, Inc. v. Makor Issues & Rr'gkts, Ltd., 551 U.S. 308,

319 (2007). ln the Seventh Circuit, both knowledge and recklessness satisfy the scienter

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requirement Rossy v. Merge Healthcare Inc_, 2015 WL `1208656, at *3 (N.D. lll. Mar. 12j
2015); Ciry ofSterling Her`ghts Gen. Employees’ Ret. Sys. v. Hospira, Inc., 2013 WL 566805, at
=“ 16 (N.D. lll. Feb. 13, 2013).g But the quantum of proof required to establish a defendant was
reckless is quite high in the Seventh Circuit. Recklessness “should be viewed as the functional
equivalent of intent” because it requires “something more egregious than even ‘white
heart/empty head’ good f`aith.’7 Stmdsrrand, 553 F.2d at 1045; see also Ziemacfc v. Centel Cr)rp.,
856 F. Supp. 430, 436 (N.D. lll. 1994); SEC v. irean Int'l Co., 498 F. Supp. 1231, 1253 (N.D. lll.
1980). “The Seventh Circuit has adopted the following definition of recklessness in the context
of securities f`raud: ‘a highly unreasonable omission, involving not merely simple, or even
inexcusable negligence, but an extreme departure from the standards of ordinary care, and which
presents a danger of misleading buyers or sellers that is either known to the defendant or is so
obvious that the actor must have been aware of it.”’ SEC v. Kelly, 545 F. Supp. 2d 808, 811~12
(N.D. lll. 2008) (quoting Sundsrmnd, 553 F.2d at 1045 ).

At the same time, the Seventh Circuit also recognizes that someone who deliberately
closes his or her eyes to the facts or the steps by which he or she would discover the facts does
not have a ‘°white heart/empty head.” lndeed, the Seventh Circuit has clearly stated,
"[d]eliberate ignorance . . . is a form of knowledge.” SEC v. Jakabowski, 150 F.3d 675, 681-682
(7th Cir. 1998); Kel.ly, 545 F. Supp. 2d at 811-812. In the Seventh Circuit, however, honest
“white heart/empty head” good faith is inconsistent with a subjectiver reckless state of mind.m

This is consistent with the Supreme Court’s clear directive that actions taken in good

faith do not violate Section `l(l(b). Ernst & Emst v. Hochfelcier, 425 U.S. 185, 206 (1976)

 

q The Supreme Court has not addressed whether recklessness satisfies the scienter requirement Marrr'xx
lr'iitr`crrives, Inc. v. Sirncrrsano, 563 U.S. 27, 48 (2011).

m This is exactly how the Ninth Circuit reads the Seventh Circuit’sjurisprudence on scienter after
Srtrrdstmrrd. SEC v, P[ot]?)rms Wiret`ess fiat ’f Cot‘p., 617 F.3d 1072, 1092-94 (9111 Cir. 2010); SEC v.
Rrrherrr, 350 F.3d 1084, 1094-95 (9th Cir. 2003).

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(“There is no indication that Congress intended anyone to be made liable for such practices
unless he acted other than in good faith.”); see also Gebhart v. SEC, 595 F.3d 1034, 1042 (9th
Cir. 2010); In re lkort Ojjfice Sols., Inc., 277 F.3d 658, 670 (3d Cir. 2002); Backman v. Polaroid
Corp., 893 F.2d 1405, 1418 (1stCir. 1990);1!1 re Apple Computer Sec. Lr`tig., 886 F.2d 1109,
1117-1118 (9th Cir. 1989); Pegasn.s' Fr.rnd, Inc. v. Laranera, 617 F.2d 1335, 1340 (9th Cir. 1980);
Ro.lf, 570 F.2d at 46 n.15; erzrt v. Drexel & Co., 479 F.2d 1277, 1299 (2d Cir. 1973); RZ
Investmerrts v. Phift't'ps, 2003 WL 22862762, at *7 (N.D. Tex. Dec. 3, 2003) ajj"o.' Srrb nom. R2
investments LDC v. Phill.ips, 401 F.3d 638 (5th Cir. 2005); Mathews v. Centex Telemanagemenr,
Inc., 1994 WL 269374, at"‘7 {N.D. Cal. June 8, 1994); SEC v, Price Warerhouse, 797 F. Supp.
1217, 1242 (S.D.N.Y. 1992); la re l/err'fone Sec. Lr`tig., 784 F. Supp. 1471, 1491 (N.D. Cal.
1992) affd sub nom fn re VeriFone Sec. Lr`tig., 11 F.3d 865 (9th Cir. 1993); Chr`n v. Shin, No. 87
C 9782, 1990 WL 70520, at “5 (N.D. lll. May 15, 1990); Selm.ier v. E.F. Hzrtton & Co., 1981
WL1711, at ’*‘4(N.D. lll. Nov. 17, 1981).

The SEC cites a host of cases dealing with the reliance on advice of counsel defense but
only one case, SEC v. Tourre, 950 F. Supp. 2d 666 (S.D. N.Y. 2013), in which a trial court ruled
before trial that a defendant could not introduce evidence about the involvement of lawyers and
others in putting together transaction and public disclosure documents when the defendant
admitted he could not establish he actually relied on the advice of counsel but still maintained he
acted in good faith. The facts in Tortrre are somewhat different than the facts in this case; Mr.
Tourre was a lower level participant in the events in question while Ferrone was the CEO of
Immunosyn. Also, in Tonrre, while the trial judge said the defense could not focus on the
presence and participation of lawyers she did not preclude the defendant from mentioning that

lawyers were involved in the process of putting together transaction and disclosure documents

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And she reserved the ability to give the jury a limiting instruction if that were deemed necessary
at trial. So, Tonrre is not on all fours with this case and it does not bear the weight the SEC
places on it

Further, many of the cases the SEC cites on the merits of whether a defendant was or
could be successful in establishing a reliance on advice of counsel defense were decided either
after a full trial (Enrerprises Solrrtions., Inc., 142 F. Supp. 2d at 565-66; Unired Srates v.
Erickson, 601 F.2d 296, 298 (7th Cir. 1979)), on a motion for summary judgment (SEC v.
Mettzer, 440 F. Supp. 2d 179, 182 (E.D.N.Y. 2006)), or on a motion to dismiss (In re Bank ()f
Am. Corp. Sec., Derivarr`ve, And Employee Re£. become Sec. Act (ERISA) Litr`g., 2011 WL
3211472, at *1 (S.D.N.Y. July 29, 2011)). These cases also are not persuasive authority for the
SEC`s proposition that the Court should bar evidence wholesale before trial.

ln addition, it is not clear from the parties’ briefs exactly what evidence Ferrone wants (or
will be able) to introduce on the issue of his asserted good faith and how far he wishes to go
down the road of arguing what properly might be characterized as classic reliance on advice of
counsel compared to good faith in other respects For example, it is not clear how Ferrone
intends to establish that any lawyer “approved” the language used in lmmunosyn’s public filings
and disclosures given that he did not list the company’s SEC counsel, Sara Hewitt, in his Rule
26(a) disclosures or as a trial witness to say nothing of whether the concept of “approval”
approaches closely the notion of reliance on advice of counsel that Ferrone says he will eschew.

Put simply, the SEC’s motion does not fully account for the issue of good faith and the
ways in which it might be raised legitimately by Ferrone to contest the scienter element of the

SEC’s case. Further, Ferrone needs to articulate more clearly what evidence he wants to

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introduce in support of his asserted good faith and how it differs from the evidence concerning
the reliance on advice of counsel defense that he says he is not raising.

For all of these reasons the Court believes the more prudent path is to deny the SEC’s
Motion in Lr`mine No. 1 without prejudice and work with counsel both at the pretrial conference
and at trial to zero in on what evidence will be admitted (and what will not be admitted) on the
question ofFerrone’s good faith. lf` the Court is going to err (and it does not think it is doing so
at this point), it would prefer to err on the side of allowing the jury to decide the case rather than
gutting Ferrone’s defense out of the box. As noted at the outset of this Opinion, a motion in
limine should be granted only when the evidence is inadmissible for any purpose, a high
standardl Thomas v. Sheahan, 514 F. Supp. 2d at 1087. The Court has more tools at its disposal
to control the evidence at trial than it has when ruling on a motion in limine Among other
things for example, the Court can consider whether an instruction along the lines discussed in
both Tourre and SEC v. Stoker, No. 11-CIV~7388 (JSR) (S.D.N.Y.), might be necessary or
appropriate depending upon how the evidence comes in. See ECF No. 203~1, at 6.

Accordingly, the SEC’s l\/lotion in Limine No. 1 [ECF No. 140] is granted in part and
denied in part

IV. CONCLUSION
For the reasons stated above, the Court orders as follows
(1) Ferrone’s l\/lotion in Limr'ne to Exclude as Trial Exhibits Privilege-Asserted
Documents Produced after Discovery Cut-Off [ECF No. 147] is denied.
(2) Ferrone’s Motion in Lr'mine to Exclude Evidence Conceming McClain, Sr.is Allegecl

Separate Fraud on the Texas Clinic Patients [ECF No. 146] is granted

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(3) Ferrone’s Dattberr Motion to Restrict Testimony of Dr. Peter Rheinstein [ECF No.
149] is granted in part, denied in part, and reserved in part

(4) Ferrone’s Motion in Lr`mine to Exclude Testirnony of Drs. Hazelwood and Kanter
[ECF No. 148] is granted in part, denied in part, and reserved in part

(5) The SEC’s l\/lotion in Limr`ae No. 2 for a Pre-Trial Ruling That the SEC Can
lntroduce into Evidence Two Documents Notwithstanding Flawed Privilege Claims
[ECF No. 142] is granted.

(6) The SEC’s Motion in Lr`mine No. 3 to Preclude Ferrone from Offering Evidence or
Argurnent about Investor Reliance [ECF No. 144] is granted in part and denied in
part

(7) The SEC’s Motion inler`ne No. 1 to Preclude Defendant from Offering Evidence of
or Argument at Trial That He Reasonably Relied on Advice of Counsel Or the

lnvolvement of Lawyers Or Other Professionals [ECF No.140] is denied without

prejudice M

J.éffrlble Gil ert
nited States}) Magistrate Judge

Dated: February 22, 2016

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